        Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 1 of 14




                  AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Jamie Vera, a Special Agent with the Federal Bureau of Investigation (FBI), being duly

sworn, depose and state as follows:

                                      AGENT BACKGROUND

       1.      I am an investigative or law enforcement officer of the United States within the

meaning of 18 U.S.C. § 2510(7); that is, an officer of the United States who is empowered by law

to conduct investigations of, and to make arrests for, the offenses enumerated in 18 U.S.C § 2516.

       2.      I am a Special Agent with the FBI, and as such, am an investigative or law

enforcement officer of the United States within the meaning of Rule 41(a)(2)(C) of the Federal

Rules of Criminal Procedure. I am engaged in the enforcement of criminal laws and am within the

category of officers authorized by the Attorney General to request and execute search warrants

pursuant to Title 18 U .S.C. §§3052 and 3107; and DOJ Regulations set forth at Title 28 C.F.R. §§

0.85 and 60.2(a).

       3.      I have been a Special Agent since September 2015. I have successfully completed

training at the FBI in Quantico, Virginia. I also have conducted numerous federal criminal

investigations and assisted in numerous prosecutions. Over the course of my employment as an

FBI Special Agent, I have conducted and participated in multiple criminal investigations that have

resulted in arrests for criminal offenses. These crimes have resulted in subsequent convictions in

Federal Courts.

                                 PURPOSE OF AFFIDAVIT

       4.      This affidavit is being submitted for the limited purpose of establishing probable

cause to believe that NOLAN B. COOKE has violated 18 U.S.C. § 231(a)(3) (Acts during civil

disorder); 18 U.S.C. §§ 1752(a)(1) & (a)(2) (Entering/remaining on restricted buildings or grounds
        Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 2 of 14




& Disorderly/disruptive conduct in or near restricted building or grounds); and 40 U.S.C. §

5104(e)(2)(D) (Unlawful activities on Capitol grounds), as set forth below:

              a. 18 U.S.C. § 231(a)(3): Acts During Civil Disorder: Whoever commits or

                  attempts to commit any act to obstruct, impede, or interfere with any fireman

                  or law enforcement officer lawfully engaged in the lawful performance of his

                  official duties incident to and during the commission of a civil disorder which

                  in any way or degree obstructs, delays, or adversely affects commerce or the

                  movement of any article or commodity in commerce or the conduct or

                  performance of any federally protected function;

              b. 18 U.S.C. § 1752(a)(1): Restricted Building or Grounds; Whoever knowingly

                  enters or remains in any restricted building or grounds without lawful authority

                  to do so;

              c. 18 U.S.C. § 1752(a)(2): Restricted Building or Grounds; Whoever knowingly,

                  and with intent to impede or disrupt the orderly conduct of Government

                  business or official functions, engages in disorderly or disruptive conduct in, or

                  within such proximity to, any restricted building or grounds when, or so that,

                  such conduct, in fact, impedes or disrupts the orderly conduct of Government

                  business or official functions; 1

              d. 40 U.S.C. § 5104(e)(2)(D): Unlawful Activities on Capitol Grounds; An

                  individual or group of individuals may not willfully and knowingly utter loud,



       1  For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
        Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 3 of 14




                    threatening, or abusive language, or engage in disorderly or disruptive conduct,

                    at any place in the Grounds or in any of the Capitol Buildings with the intent to

                    impede, disrupt, or disturb the orderly conduct of a session of Congress or either

                    House of Congress, or the orderly conduct in that building of a hearing before,

                    or any deliberations of, a committee of Congress or either House of Congress.

        5.      The statements contained in this affidavit are based in part on: information provided

by FBI Special Agents, Task Force Officers and FBI Analysts, written reports about this and other

investigations that I have received, directly or indirectly, from other law enforcement agents,

information gathered from the results of physical surveillance conducted by law enforcement

agents, reporting by eye witnesses, independent investigation and analysis by FBI agents/analysts

and computer forensic professionals, and my experience, training and background as a Special

Agent. Because this affidavit is being submitted for the limited purpose of securing a criminal

complaint, I have not included each and every fact known to me concerning this investigation.

Instead, I have set forth only the facts that I believe are necessary to establish the necessary

foundation for the requested complaint.

                                          JURISDICTION

        6.      This Court has jurisdiction to issue the requested warrant because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

the U.S. Attorney’s Office for the District of Columbia is investigating this case, which, among

other things, involves possible violations of 18 U.S.C. § 231(a)(3) (Acts during civil disorder); 18

U.S.C. §§ 1752(a)(1) & (a)(2) (Entering/remaining on restricted buildings or grounds &
        Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 4 of 14




Disorderly/disruptive conduct in or near restricted building or grounds); and 40 U.S.C. §

5104(e)(2)(D) (Unlawful activities on Capitol grounds). The conduct at issue includes an overt act

in the District of Columbia, in the form of entering into Congress on January 6, 2021, as part of a

mob that disrupted the proceedings of Congress, engaged in property damage and theft, and caused

physical injury.

                                BASIS FOR PROBABLE CAUSE

                 Facts Surrounding the Events at the Capitol on January 6, 2021

       7.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       8.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       9.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.
        Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 5 of 14




       10.     As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       11.     At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       12.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the

United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President

Pence remained in the United States Capitol from the time he was evacuated from the Senate

Chamber until the sessions resumed.

       13.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.
        Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 6 of 14




                                    Facts Specific to the Defendant

       14.       Beginning on or about January 7, 2021, investigative agencies began receiving tips

from the public related to the civil unrest and breach of the Capitol. The FBI has received at least

three tips identifying COOKE as having been involved in the breach of the Capitol. An unknown

individual (hereinafter referred to as Tipster 1) reported the following information: 2

                 On January 6, 2020 I opened my snapchat around the end of the day
                 to catch up and I noticed a guy I once knew participated in the riots
                 around the capital on January 6th. The guys name in Nolan Cooke,
                 he is 22 and from Savoy, Texas. Nolan was in the front lines of the
                 riot and helped lead the charge of rioters breaking through the police
                 gates. On his Snapchat story, Nolan posted video of him at the
                 capital steps banging on the large brown doors with the end of the
                 American flag he was carrying. There is also video of him shoving
                 through a police encounter. He filmed the entire footage of the
                 charges on a GoPro he had hanging from his neck. He then
                 proceeded to post the picture attached to his Snapchat story. Nolan
                 is about 56 with long brown curly hair down to his shoulder. He was
                 wearing a Make America Great Again hat and was carrying a large
                 American Flag through the entire protest. He is of medium skin tone.
                 I do believe he had part of breaking in to the US Capitol, but I did
                 not save any of his Snapchat stories to my phone. I looked the
                 picture attached below and found it in a US media source after I saw
                 it on Nolans story. He did not say in his story if this was him, but
                 the
                 similarities are uncanny.

       15.       A contact name and number were provided for Tipster 1. However, when the FBI

attempted to contact this individual for more information, the individual stated that he or she had

not reported anything to the FBI.

       16.       A second tipster (hereinafter Tipster 2), whose identity is known by the FBI, was

interviewed and provided the following information regarding COOKE:

                 a. Tipster 2 was familiar with an individual named NOLAN BERNARD COOKE

                     who went to Savoy high school in Savoy, Texas, and used to work at Walmart.


       2   Errors in original.
Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 7 of 14




     b. COOKE posted on his Snapchat account a video of himself driving to

        Washington, DC, prior to the rally on January 6, 2021. COOKE also posted on

        his Snapchat account videos of himself inside of the Capitol on January 6, 2021.

     c. At one point, COOKE said on Snapchat that he was wearing a GoPro inside the

        Capitol and would upload the video to YouTube, but Tipster 2 had not seen that

        specific video.

     d. COOKE posted pictures on Snapchat saying that he had been pepper sprayed

        and his eyes were visibly red.

     e. COOKE posted a video from a news source, which Tipster 2 believed was

        CNN, that showed COOKE inside the Capitol, and COOKE stated, “I made the

        news.”

     f. COOKE posted something on his Snapchat account on the drive back from

        Washington, DC, to Texas, stating that he was staying in a hotel somewhere in

        Tennessee.

     g. COOKE has since deleted all the Snapchat videos and photos referenced above.

     h. Tipster 2 provided a Snapchat username, email account, and phone number for

        COOKE. [The FBI was able to confirm that the phone number belongs to

        COOKE and that the phone number is affiliated with his Snapchat account].

        Tipster 2 believed the individual pictured below and which was also known as

        photograph #9 on the FBI's website, was COOKE.
         Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 8 of 14




        17.       However, the FBI has confirmed that the person in the above photograph, also

known as Photograph #9, is not COOKE.

        18.       On or about January 19, 2021, the FBI received a third (anonymous) tip about

COOKE’s activities at the Capitol on January 6, 2021. This person (hereinafter Tipster 3) stated,

in pertinent part: 3

                  Reporting on [COOKE’s presumed girlfriend (Person A)] and Nolan
                  Cooke a couple from Sherman, Texas. They were both at the capitol
                  that day and from the video Person A posted to Instagram they at
                  the very least made their way up the steps. Nolan has a friend
                  [Person B] whose [relative] works with my friend. The [relative]
                  said Nolan was wearing a go-pro the whole day recording
                  everything that happened and that he sent the video to [Person B].


        3   Errors in original.
        Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 9 of 14




       19.     The FBI has conducted open source research of COOKE’S social media. Your

affiant reviewed an approximately 28-second video that was uploaded on January 13, 2021, at

around 2:00PM Eastern Time, to a TikTok account under the username of @nolan.cooke98/amos:

cookie03121998. The video appears to show a crowd of individuals shoving their way through a

group of police officers (likely U.S. Capitol Police) in front of the Capitol (believed to be the East

side of the Capitol). This video appears to have been taken from a “GoPro” style camera. While

reviewing the video, your affiant observed long brown hair dangle in front of the camera lens

similar to the long brown hair depicted in COOKE’s driver’s license photo and images of himself

on Instagram account “nolan_cooke3.”

       20.     In the above-described TikTok video, your affiant can see the sleeve of what

appears to be a denim jacket or shirt. Your affiant has observed two photos of COOKE that were

posted on Instagram account “nolan_cooke3” on January 6, 2020. In both photos, COOKE appears

to be wearing a denim shirt or jacket. According to open source information, the first photograph

of COOKE (with a female believed to be COOKE’s girlfriend) included a caption that noted, “I

wouldn’t want anyone other than you with me to take on the revolution.” The second photo had

the caption, “What a fucking day.”

       21.     Four screenshots from the TikTok video are below showing the long brown hair

and denim shirt or jacket, followed by the two Instagram pictures of COOKE wearing a denim

shirt or jacket. In the fourth screenshot from the TikTok video depicted below, it appears that the

individual wearing the GoPro style camera and with denim sleeves is grabbing the arm of a police

officer and interfering with a law enforcement officer lawfully engaged in the lawful performance

of the officer’s official duties incident to and during the commission of a civil disorder.
Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 10 of 14
Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 11 of 14
       Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 12 of 14




       22.    Law enforcement agents have retrieved a driver’s license photograph of COOKE,

a resident of TEXAS, and confirmed COOKE bears a resemblance to the pictures above.

       23.    On January 20, 2021, the Honorable Christine A. Nowak, U.S. Magistrate Judge

for the Eastern District of Texas, authorized a search of COOKE’s premises and vehicle for

evidence related to the violations described below. On January 21, 2021, law enforcement agents

executed the search warrant. COOKE agreed to be interviewed voluntarily; he was not under arrest

at this time and was not given Miranda warnings.

       24.    During the interview, COOKE made the following statements and admissions:
       Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 13 of 14




              a. A few days before January 6, 2021, COOKE saw a posting on Twitter from

                   former President Donald T. Trump about the rally in Washington, D.C.,

                   scheduled for January 6, 2021.

              b. On or about January 5, 2021, COOKE drove to Washington, D.C., with his

                   girlfriend and a relative. On arrival to the city, COOKE’s relative dropped

                   COOKE and his girlfriend off at the Capitol Building.

              c. COOKE brought one or more firearms with him on the trip, but he left those

                   weapons in the relative’s vehicle and did not bring them onto the Capitol

                   Grounds.

              d. COOKE came to the Capitol because he wanted to be heard.

              e. COOKE was at the front of the crowd pushing against the officers who were

                   enforcing the restricted access to the Capitol Building and Grounds.

              f. COOKE pushed past police officers to get to one of the doors of the Capitol

                   Building. He used a flag pole to bang on a window.

              g. COOKE denied entering the Capitol Building at any time.

              h. COOKE confirmed that he filmed the video containing the four still

                   photographs included above and that his hair and arm are depicted in those

                   photographs.

              i.   COOKE further confirmed that he is the male individual in the fifth photo

                   included above.

       25.    Based on the foregoing, your affiant submits that there is probable cause to

believe that COOKE has violated 18 U.S.C. § 231(a)(3) (Acts during civil disorder); 18 U.S.C.

§§ 1752(a)(1) & (a)(2) (Entering/remaining on restricted buildings or grounds & Disorderly/
       Case 1:21-mj-00143-RMM Document 1-1 Filed 01/21/21 Page 14 of 14




disruptive conduct in or near restricted building or grounds); and 40 U.S.C. § 5104(e)(2)(D)

(Unlawful activities on Capitol grounds).



                                                    _______________________________
                                                    Jamie Vera
                                                    Special Agent
                                                    Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of January 2021.
                                                                      2021.01.21
                                                                      15:25:11 -05'00'
                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
